               Case 14-10979-CSS   Doc 3198-1   Filed 01/08/15   Page 1 of 8




                                     Exhibit A




RLF1 11356840v.1
               Case 14-10979-CSS           Doc 3198-1          Filed 01/08/15      Page 2 of 8




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                     )   Chapter 11
                                                           )
ENERGY FUTURE HOLDINGS CORP., et al.,1                     )   Case No. 14-10979 (CSS)
                                                           )
                                  Debtors.                 )   (Jointly Administered)
                                                           )
                                                           )   Re: D.I. 3040

  FIRST SUPPLEMENTAL DECLARATION OF TODD J. ROSEN IN SUPPORT OF
APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE RETENTION AND
EMPLOYMENT OF MUNGER, TOLLES & OLSON LLP AS COUNSEL TO DEBTORS
 AND DEBTORS IN POSSESSION ENERGY FUTURE COMPETITIVE HOLDINGS
 COMPANY LLC AND TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY
          LLC EFFECTIVE NUNC PRO TUNC TO NOVEMBER 16, 2014

I, Todd J. Rosen, state the following under penalty of perjury:

         1.        I am over eighteen years of age and have personal knowledge of the facts set forth

herein and, if called as a witness, would testify competently with respect thereto from my own

personal knowledge except as otherwise stated.

         2.        I am a partner at Munger, Tolles & Olson LLP (“MTO”), located at 355 S. Grand

Ave., 35th Floor, Los Angeles, California, 90071, and have been duly admitted to practice law in

the State of California; the United States District Courts for the Central, Northern, Eastern, and

Southern District of California; and the Ninth Circuit Court of Appeals.

         3.        I submit this first supplemental declaration (the “First Supplemental Declaration”)

in further support of the Debtors Energy Future Competitive Holdings Company LLC And Texas

Competitive Electric Holdings Company LLC’s Application For Entry Of An Order Authorizing

         1
            The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided herein.
A complete list of such information may be obtained on the website of the debtors’ claims and noticing
agent at http://www.efhcaseinfo.com.



RLF1 11357492v.1
               Case 14-10979-CSS          Doc 3198-1      Filed 01/08/15     Page 3 of 8




The Retention And Employment Of Munger, Tolles & Olson LLP As Counsel To Debtors And

Debtors In Possession Energy Future Competitive Holdings Company LLC And Texas

Competitive Electric Holdings Company LLC Effective Nunc Pro Tunc To November 16, 2014

[D.I. 3040] (the “Application”).2

          4.       Except as otherwise noted, I have personal knowledge of the matters set forth

herein.

                                              Background

          5.       On December 16, 2014, the TCEH Debtors filed the Application. In support of

the Application, the TCEH Debtors filed the Declaration of Todd J. Rosen in Support of the

Debtors Energy Future Competitive Holdings Company LLC And Texas Competitive Electric

Holdings Company LLC’s Application For Entry Of An Order Authorizing The Retention And

Employment Of Munger, Tolles & Olson LLP As Counsel To Debtors And Debtors In Possession

Energy Future Competitive Holdings Company LLC And Texas Competitive Electric Holdings

Company LLC Effective Nunc Pro Tunc To November 16, 2014 (the “Original Declaration”),

which was filed as Exhibit C to the Application.

          6.       Thereafter, MTO engaged in discussions with the Office of the United States

Trustee (the “UST”), which requested that I submit a supplemental declaration on behalf of

MTO to (a) clarify and provide additional information regarding the disclosures made in the

Original Declaration and (b) to address the scope of MTO’s engagement by the TCEH Debtors.

       Clarification and Additional Information Regarding Disclosures in the Original
                                         Declaration

          7.       Paragraph 33 of the Original Declaration is amended in its entirety to state: Of the

clients listed on Schedule 3, only eight represented more than one percent of MTO’s fees billed

          2
          Capitalized terms not defined in this First Supplemental Declaration have the meaning ascribed
to them in the Application.


RLF1 11357492v.1
                                                 2
               Case 14-10979-CSS         Doc 3198-1     Filed 01/08/15    Page 4 of 8




for the twelve-month period ending on November 1, 2014: Bank of America, N.A. and certain of

its affiliates and subsidiaries (“BANA”); Intel Corporation (“Intel”); Wells Fargo & Company

(“Wells Fargo”); Northrop Grumman Corporation (“Northrop”); Berkshire Hathaway Inc. and

certain of its affiliates and subsidiaries (“Berkshire Hathaway”); Google Inc. and certain of its

affiliates and subsidiaries (“Google”); Fortress Investments and certain of its affiliates and

subsidiaries (“Fortress”); and Milbank Tweed Hadley & McCloy LLP (“Milbank”).

         8.        Of the eight clients that represented more than one percent of MTO’s fees billed

for the twelve-month period ending on November 1, 2014, only BANA represented more than

five percent of MTO’s fees billed for the twelve-month period ending on November 1, 2014.

MTO currently represents, and in the past has represented, BANA in connection with a variety of

corporate and litigation matters unrelated to these chapter 11 cases, including, without limitation,

as nationwide litigation counsel related to mortgage backed securities litigation.

         9.        I understand that BANA is a party in interest in a number of capacities in these

chapter 11 cases, including as a holder of secured and unsecured notes at each of Energy Future

Holdings Corp., Energy Future Intermediate Holding Company LLC (“EFIH”) and TCEH, and

as a participant in the EFIH debtor in possession financing facility. All prior and current

representations of BANA have been unrelated to these chapter 11 cases and MTO will not

represent BANA in any facet of these chapter 11 cases. Although not anticipated to be a Conflict

Matter within the scope of MTO’s retention, if adversity between the TCEH Debtors and BANA

that would constitute a Conflict Matter arises, MTO will ask separate conflicts counsel to handle

that matter. To the best of my knowledge and insofar as I have been able to ascertain, I do not

believe any prior or current representation of BANA creates a conflict or impacts the

determination that (a) MTO is a “disinterested person” within the meaning of section 101(14) of




RLF1 11357492v.1
                                               3
               Case 14-10979-CSS        Doc 3198-1     Filed 01/08/15    Page 5 of 8




the Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code, and does not hold

or represent an interest adverse to the Debtors’ estates and (b) MTO has no connection to the

Debtors, their creditors, or other parties in interest, except as may be disclosed in the Original

Declaration or herein.

         10.       At paragraph 42 of the Original Declaration, I described the limited role that

Andrea M. Weintraub, an associate in MTO’s financial restructuring department, had with

respect to representing the Debtors while employed as an associate of K&E from October 2012

to June 2014.        As a precaution, MTO instituted formal screening measures to screen Ms.

Weintraub from all aspects of MTO’s representation of the TCEH Debtors pending a hearing on

MTO’s application to be retained. I did not at the time of filing the MTO retention application,

and currently do not, believe Ms. Weintraub’s limited role in representing the Debtors while at

K&E creates a conflict or requires Ms. Weintraub to be screened from MTO’s representation of

the TCEH Debtors. Subject to approval by the Court as requested herein, MTO shall cease

screening Ms. Weintraub from participating in MTO’s representation of the TCEH Debtors.

                        Scope of MTO’s Engagement by the TCEH Debtors

         11.       As set forth in the Application, the TCEH Debtors are seeking to employ and

retain MTO as its attorneys effective nunc pro tunc to November 16, 2014, to advise and

represent the TCEH Debtors in connection with “Conflict Matters” (as defined in and pursuant to

the authority delegated to the TCEH Debtors’ Disinterested Manager pursuant to the respective

resolutions of the ECFH and TCEH Board of Managers dated November 7, 2014 and December

9, 2014 attached to the Application as Exhibit B (the “Resolutions”)), and in determining

whether a matter constitutes a Conflict Matter, reporting to and at the direction of the TCEH

Debtors’ Disinterested Manager.




RLF1 11357492v.1
                                               4
               Case 14-10979-CSS         Doc 3198-1      Filed 01/08/15    Page 6 of 8




         12.       The Resolutions (a) provide that “any matter pertaining to the Chapter 11 Case on

which an actual conflict exists between [the TCEH Debtors], on the one hand, and any other

Debtor, on the other hand,” constitutes a Conflict Matter and (b) delegate to the TCEH Debtors’

Disinterested Manager full authority “to review and act upon any Conflict Matters,” including,

among other things, authority (i) “to investigate and determine whether any matter constitutes a

Conflict Matter” and (ii) “to make all decisions, and to implement or direct the implementation

of all such decisions, in each case on [the TCEH Debtors’] behalf, with respect to Conflict

Matters,” in each case with the advice of Independent Advisors, including MTO.

         13.       Based on the scope of MTO’s employment set forth in its engagement letter and

in the Resolutions, MTO will limit its services in this case to advising the TCEH Debtors’

Disinterested Manager on whether a matter constitutes a Conflict Matter and to advising and

representing the TCEH Debtors, reporting to and at the direction of the TCEH Debtors’

Disinterested Manager, on any matter that the TCEH Debtors’ Disinterested Manager determines

is a Conflict Matter or on any matter for which the TCEH Debtors’ Disinterested Manager

requests MTO to provide advice and representation arising from or related to a Conflict Matter

or determining whether a matter constitutes a Conflict Matter. MTO will provide to the TCEH

Debtors all the services typically associated with or required to provide advice and representation

to the TCEH Debtors on such matters, including factual and legal investigation and research,

prosecuting, defending or settling any litigation involving any such matters, whether in

connection with plan confirmation or otherwise. Such services will include consulting and

coordinating with other counsel for the Debtors, including K&E, on, among other things,

preventing, to the extent possible, duplication of effort on matters within the scope of MTO’s

employment.




RLF1 11357492v.1
                                                5
               Case 14-10979-CSS         Doc 3198-1     Filed 01/08/15       Page 7 of 8




         14.       Based upon MTO’s initial investigation to date, which is ongoing and incomplete,

Conflict Matters likely will include, without limitation, intercompany claims between the TCEH

Debtors and their estates, on the one hand, and any other Debtor and its estate, on the other hand,

whether addressed through litigation or through settlement either outside of a plan or under a

plan and, to the extent involving a Conflict Matter, any sale or bidding procedures, including,

without limitation, the selection of a stalking horse bidder and determination of a winning bidder

in any sale, and will include other matters as determined by the TCEH Debtors’ Disinterested

Manager.

                             [Remainder of page intentionally left blank.]




RLF1 11357492v.1
                                               6
               Case 14-10979-CSS       Doc 3198-1      Filed 01/08/15     Page 8 of 8




         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.




Dated: January 8, 2015                                    /s/ Todd J. Rosen
                                                   Name: Todd J. Rosen
                                                   Title: Partner, Munger, Tolles & Olson LLP




RLF1 11357492v.1
                                              7
